                    IN THE COURT OF APPEALS OF NORTH CAROLINA

                                        2022-NCCOA-258

                                         No. COA21-402

                                       Filed 19 April 2022

     Wake County, No. 21 SPC 0287

     IN THE MATTER OF: A.J.D, Jr.


             Appeal by Respondent from Order entered 17 February 2021 by Judge Anna

     E. Worley in Wake County District Court. Heard in the Court of Appeals 8 February

     2022.

             Attorney General Joshua H. Stein, by Assistant Attorney General Milind K.
             Dongre, for the State

             Appellate Defender Glenn Gerding, by Assistant Appellate Defender Jillian C.
             Katz, for respondent-appellant


             HAMPSON, Judge.


                           Factual and Procedural Background

¶1           Respondent-Appellant A.D. (Respondent) appeals from an Involuntary

     Commitment Order entered in Wake County District Court declaring Respondent

     mentally ill, a danger to self, and ordering Respondent be committed to an inpatient

     facility for forty-five days. The Record reflects the following:

¶2           On 26 January 2021, Edward Cashwell, a nurse at Wake County Detention

     Center, signed an Affidavit and Petition for Involuntary Commitment in Wake

     County District Court alleging Respondent was mentally ill and a danger to himself
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     or others or in “need of treatment in order to prevent further disability or

     deterioration that would predictably result in dangerousness.” The same day, a

     magistrate issued a form Findings and Custody Order finding reasonable grounds to

     believe Respondent was mentally ill and a danger to himself or others, and ordering

     Respondent to be taken into custody within twenty-four hours for examination by a

     person authorized by law to conduct the examination.

¶3         The next day Respondent was taken into custody and examined by Adelmar

     Winner (Winner), a licensed clinical social worker at UNC WakeBrook.             Upon

     examination, Winner submitted a First Examination for Involuntary Commitment

     report. In this report, Winner stated Respondent has “a history of Schizoaffective

     Disorder and Autism” and “had an accident due to walking the middle of traffic while

     actively psychotic.” Winner continued stating:

              Patient has long history of non compliance with medication and
              going from state to state, running away from the ‘people who
              implanted a microchip in his head.’ . . . He endorses paranoia in
              references to his parents ‘stealing millions of dollars from him’
              and endorses several delusions including that he is ‘a valuable
              witness of federal case.’

¶4         On 29 January 2021, Respondent underwent a second evaluation, conducted

     by Winner, at UNC WakeBrook. Winner’s report stated:

              [Respondent] has a history of autism and schizoaffective disorder,
              recently missing for 10 years and came to Raleigh to see daughter
              (which he never did). [Respondent] is . . . psychotic, believes there
              is a federal conspiracy against him and he does not believe his
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               parents are his guardians. He believes he is an attorney with the
               supreme court.

     Winner also opined Respondent met the criteria for commitment because Respondent

     is “an individual with a mental illness” and is “dangerous to self or others.”

¶5         On 11 February 2021, after a continuance, the trial court heard Respondent’s

     case pursuant to N.C. Gen. Stat. § 122C-268. In support of the Petition, the State

     called Dr. Michael Zarzar to testify. Dr. Zarzar testified Respondent has a history of

     schizophrenia with significant periods of delusions in the past. Respondent initially

     presented to their crisis assessment service (CAS) on petition by the Wake County

     Detention Center (Center). Dr. Zarzar explained after Respondent arrived at the

     Center, a jailhouse nurse became concerned about his mental status after he made a

     statement about suicide, and noticed he was exhibiting symptoms of paranoia and

     delusions. Dr. Zarzar further testified:

               During the initial assessment with the clinicians in CAS,
               [Respondent] had voiced that he was running away from people
               who were implanting chips in his head and trying to get away
               from them. He also said that his family, his parents were stealing
               millions of dollars from him. He said that he was an attorney,
               and he said that he had evidence that was significant for a federal
               case and that he was supposed to be testifying.

     Dr. Zarzar believed Respondent’s delusions were driving his behavior and putting

     Respondent in positions of danger. For example, Dr. Zarzar explained Respondent

     had a history of walking down the middle of the road and had actually been hit by a
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     car a couple days before he was taken to the Center. Respondent also had paranoia

     around his identification and would “erase his name if it was on any whiteboard and

     insist his name not be on the door.”

¶6         Moreover, Dr. Zarzar testified when Respondent presented to CAS, he refused

     to take any medications, and clinicians had discovered him “cheeking” his

     medications or hiding it in his mouth to avoid swallowing it.         Thereafter, the

     clinicians had to crush the medication and put it in liquid to administer the

     medication.     Dr. Zarzar also testified after being on medications for a while,

     Respondent continued to have paranoia about his identification. For example:

                 He talks about being certified by the U.S. Treasury, and when you
                 ask him what being certified by the U.S. Treasury means, he’s
                 said surrendering his identity to the U.S. Treasury. And that was
                 as recently as today.

¶7         Ultimately, Dr. Zarzar testified that in his opinion: “Respondent is suffering

     from schizophrenia, and I believe that he’s in an acute episode of the schizophrenia.”

     However, Dr. Zarzar explained Respondent doesn’t view himself as having any illness

     and denies being in psychiatric treatment so “with this continued paranoia that he

     still acts upon that still drives his decisions and his history of putting himself in

     dangerous situations . . . I’m very worried that he would represent a danger to

     himself.”    Dr. Zarzar also explained they were still in the process of adjusting

     Respondent’s medications to help with the delusions, and he wanted to keep
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     Respondent for at least 45 to 90 days but would consider discharging him earlier if

     his delusions began to resolve.

¶8         After Dr. Zarzar testified, Respondent took the stand. Respondent denied

     having been previously diagnosed with schizophrenia and denied being previously

     hospitalized with schizophrenia despite Dr. Zarzar’s testimony to the contrary.

     Nevertheless, Respondent testified he had somewhere to live and did not have any

     problems with taking medication.

¶9         After Respondent testified, the trial court entered a written Order concluding

     Respondent “has a mental illness, he’s a danger himself, and he’s to be committed to

     a period not to exceed 45 days.” The trial court also found by clear, cogent, and

     convincing evidence, the following relevant facts supporting the ultimate Finding of

     dangerousness to self:

              3. . . . in the days preceding his admission, the Respondent had
              received medical treatment for injuries he sustained after being
              struck by a vehicle while on foot.

              4. . . . Respondent has a history of failing to properly take
              psychiatric medications and of putting himself in dangerous
              positions, including a 2010 incident in which he was reported to
              have walked in the road.

              5. Respondent denied any past mental illness diagnoses or
              psychiatric hospitalizations.   Dr. Zarzar testified that the
              Respondent has no insight into his mental illness.

              6. Dr. Zarzar testified that while the Respondent has been under
              his care, he has observed symptoms of schizophrenia . . .
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                  8. The Court finds that the above-described and uncontroverted
                  testimony about the 2010 incident comprises applicable evidence
                  of a previous episode of dangerousness to self which the Court
                  should consider in determining reasonable probability of physical
                  debilitation.

                  12. The Court finds that all the foregoing testimony demonstrates
                  grossly irrational behavior and grossly inappropriate behavior to
                  the situation by Respondent; actions Respondent was unable to
                  control; and behavior evidencing severely impaired insight and
                  judgment by Respondent.

                  14. The court finds . . . a reasonable probability that absent up to
                  forty-five additional days of inpatient treatment given pursuant
                  to Chapter 122C, (a) the Respondent will be unable either to
                  exercise self-control, judgment, and discretion in the conduct of
                  his daily responsibilities and social relation, or to satisfy his need
                  for nourishment, personal, and medical care, shelter, and self-
                  protection and safety; and (b) there’s a reasonable probability of
                  serious physical debilitation of Respondent within the near
                  future.

¶ 10           Respondent filed Notice of Appeal from the trial court’s Order on 24 February

       2021.

                                       Appellate Jurisdiction

¶ 11           Respondents in involuntary commitment actions have a statutory right to

       appeal a trial court’s order. N.C. Gen. Stat. § 122C-272 (2021) (“Judgment of the

       district court [in involuntary commitment cases] is final. Appeal may be had to the

       Court of Appeals by the State or by any party on the record as in civil cases.”). Rule

       3 of our Rules of Appellate Procedure requires a party to file written notice of appeal
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       thirty days after the entry of an order of a superior or district court rendered in a civil

       action or special proceeding. N.C.R. App. P. 3(a), (c) (2021).

¶ 12          In this case, Respondent filed written notice of appeal on 24 February 2021,

       within the thirty-day period following entry of the Order on 17 February 2021.

       Furthermore, although the commitment period has expired, the appeal is not moot

       because the challenged order may have collateral legal consequence. See In re Moore,

       234 N.C. App. 37, 41, 758 S.E.2d 33, 36 (2014) (“The possibility that respondent’s

       commitment in this case might likewise form the basis for a future commitment,

       along with other obvious collateral legal consequence, convinces us that this appeal

       is not moot.”). Thus, Respondent’s appeal is properly before this Court.

                                                 Issue

¶ 13          The sole issue on appeal is whether the trial court had competent evidence to

       support its Finding there was a reasonable possibility of Respondent suffering serious

       physical debilitation in the near future without treatment.

                                               Analysis

¶ 14          Respondent’s sole argument on appeal is that there was insufficient evidence

       to support the trial court’s Finding of dangerousness to self because Dr. Zarzar’s

       testimony     regarding    Respondent’s      history       of   commitment,    medication

       noncompliance, and placing himself in dangerous situations is based on hearsay, and

       therefore, incompetent evidence.
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¶ 15         “To support an inpatient commitment order, the court shall find by clear,

       cogent, and convincing evidence that the respondent is mentally ill and dangerous to

       self . . .” N.C. Gen. Stat. § 122C-268(j) (2021). “Findings of mental illness and

       dangerousness to self are ultimate findings of fact.” In re B.S., 270 N.C. App. 414,

       417, 840 S.E.2d 308, 310 (2020) (citing In re Collins, 49 N.C. App. 243, 246, 271 S.E.2d

       72, 74 (1980)). On appeal, “[t]his Court reviews an involuntary commitment order to

       determine whether the ultimate findings of fact are supported by the trial court’s

       underlying findings of fact and whether those underlying findings, in turn, are

       supported by competent evidence.” B.S., 270 N.C. App. at 417, 840 S.E.2d at 310

       (citing In re W.R.D., 248 N.C. App. 512, 515, 790 S.E.2d 344, 347 (2016)). As such,

       the trial court must also record the facts that support its “ultimate findings[.]”

       Whatley, 224 N.C. App. at 271, 736 S.E.2d at 530.

¶ 16         Nevertheless, “[i]n order to preserve an issue for appellate review, a party must

       have presented to the trial court a timely request, objection, or motion and obtained

       a ruling upon the party’s request, objection, or motion.” N.C.R. App. P. 10 (b)(1).

       Indeed, when a respondent fails to raise an objection on hearsay grounds at the court

       below, “any objection has been waived, and the testimony must be considered

       competent evidence.” In re F.G.J., 200 N.C. App. 681, 693, 684 S.E.2d 745, 753-54
       (2009).
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¶ 17         Here, Respondent does not argue the trial court failed to support its ultimate

       Finding but argues the trial court committed reversible error by relying on the alleged

       hearsay evidence in making its Findings of Fact. However, a review of the Record

       reveals Respondent did not object to the admission of Dr. Zarzar’s testimony on any

       basis, including impermissible hearsay. As such, Respondent failed to preserve this

       issue for appellate review, and the testimony must be considered competent evidence.

       See id.
¶ 18         Moreover, Dr. Zarzar testified as an expert witness. Rule 703 of the Rules of

       Evidence provides:

                 The facts or data in the particular case upon which an expert
                 bases an opinion or inference may be those perceived by or made
                 known to him at or before the hearing. If of a type reasonably
                 relied upon by experts in the particular field in forming opinions
                 or inferences upon the subject, the facts or data need not be
                 admissible in evidence.

       N.C. Gen. Stat. § 8C-1, R. 703 (2021). Indeed, our Supreme Court has held it is

       appropriate for a psychiatrist to base an expert opinion on both the psychiatrist’s

       personal examination of the patient and other information included in the patient’s

       official medical records. State v. De Gregory, 285 N.C. 122, 134, 203 S.E.2d 794, 802
       (1974).

¶ 19         Dr. Zarzar testified he learned of Respondent’s history of treatment non-

       compliance and prior hospitalizations from Respondent’s medical records, speaking
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       with Respondent’s parents about his delusional behavior, and reviewing the police

       report from the 2010 incident when Respondent walked in the middle of the road.

       This kind of information is precisely the type that a medical expert may use as the

       basis for the expert’s opinion. See State v. Daniels, 337 N.C. 243, 269, 446 S.E.2d

       298, 314 (1994) (holding psychiatrist may properly base expert opinion on “(1) her

       review of the evaluations of other doctors who had interviewed defendant; (2) a

       personal discussion with a doctor in whose care defendant had been placed; and (3)

       interviews of defendant’s friends, employers, and family”), cert. denied, 513 U.S. 1135,

       130 L. Ed. 2d 895 (1995); De Gregory, 285 N.C. at 132, 203 S.E.2d at 801 (“[A]n expert

       witness has wide latitude in gathering information and may base his opinion on

       evidence not otherwise admissible.”). Thus, the rule against hearsay did not bar Dr.

       Zarzar from testifying about Respondent’s medical history and prior incidents of

       psychosis as he properly relied on this information in forming his expert opinion.

       Moreover, since Dr. Zarzar’s testimony was competent evidence, the trial court did

       not err in relying on this testimony in making its Findings of Fact.

                                            Conclusion

¶ 20         Accordingly, since Respondent did not object to Dr. Zarzar’s testimony on the

       basis of hearsay and Dr. Zarzar’s testimony was not inadmissible hearsay, we

       conclude the trial court based its Findings of Fact on competent evidence and affirm

       the Order.
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AFFIRMED.

Judges WOOD and GORE concur.
